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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

In re:                                               Chapter 11

AMYRIS, INC., et al.,                                Case No. 23-11131 (TMH)

                                                     (Jointly Administered)
         Debtors.1


    LAVVAN, INC.’S WITNESS AND EXHIBIT LIST FOR HEARING SCHEDULED FOR
                       OCTOBER 4, 2023 AT 10:00 A.M. (ET)

         Lavvan, Inc. (“Lavvan”) respectfully files this witness and exhibit list (the “Witness and

Exhibit List”) for the hearing to be held on October 4, 2023 at 10:00 a.m. (ET) (the “Hearing”)

before the Honorable Thomas M. Horan, at the United States Bankruptcy Court for the District

of Delaware, 824 N. Market Street, 3rd Floor, Wilmington, Delaware 19801.

         Lavvan reserves the right to amend and/or supplement this Witness and Exhibit List at

any time prior to the Hearing, to call any witness on any other party’s witness list (regardless of

whether the party removes that witness from its list), to call any witness necessary to authenticate

documents (to the extent necessary), and to call any witness to provide rebuttal or impeachment

testimony (as appropriate).

                                                WITNESSES

         Please take notice that Lavvan identifies the following witnesses it may call at the hearing

to be held on October 4, 2023:

     1. Any witness necessary to authenticate any exhibits.

     2. Any witness necessary to provide rebuttal or impeachment.


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  A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the Debtors’
proposed claims and noticing agent at https://cases.stretto.com/amyris. The location of Debtor Amyris Inc.’s
principal place of business and the Debtors’ service address in these Chapter 11 Cases is 5885 Hollis Street, Suite
100, Emeryville, CA 94608.


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      3. Any witness called by any other party participating in the October 4, 2023 hearing.

      4. Michael Gaul, as rebuttal expert.

            Lavvan reserves all rights, including the right to amend or supplement its witness list as

needed and in accordance with the Local Rules, as well as its right to object to evidence or

testimony offered by any party.

                                                      EXHIBITS2

Ex. No.                                         Description                                           Docket No. or
                                                                                                    Production No. (if
                                                                                                       available)
       1.      Redacted version of that certain Research, Collaboration and                            D.I. 171-A
               License Agreement, dated as of March 18, 2019.
       2.      That certain Security Agreement, dated as of May 2, 2019.                                 D.I. 171-B

       3.      That certain UCC Financing Statement, dated May 9, 2019.                                  D.I. 171-C

       4.      That certain email sent by the International Chamber of                                   D.I. 171-D
               Commerce International Court of Arbitration, dated August 11,
               2023.
       5.      That certain Subordination Agreement, dated May 2, 2019.                                  D.I. 211-A

       6.      That certain Form 10-K filed by Amyris, Inc., for the fiscal year                             N/A
               ended December 31, 2020.
       7.      That certain Consent and Waiver, dated May 2, 2019.                                       D.I. 402-A

       8.      That certain Model Form Intercreditor Agreement prepared by                               D.I. 402-B
               the Intercreditor Agreement Task Force.
       9.      That certain Amendment No 1 to Amended and Restated Loan                                  D.I. 402-C
               and Security Agreement, dated June 1, 2022.
       10.     That certain Loan and Security Agreement, dated June 29, 2018.                            D.I. 402-D

       11.     That certain Amended and Restated Loan and Security            D.I. 402-E
               Agreement, dated October 28, 2019.
       12.     That certain Loan Purchase Agreement, dated April 15, 2019, AMYRIS-DIP002426
               by which the Foris Lenders acquired the LSA from GACP
               Finance Co., LLC.
       13.     That certain UCC Financing Statement Amendment, dated April AMYRIS-DIP002449
               17, 2019.


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    Certain documents may be confidential and, if so, will be offered, if at all, under seal or in redacted form.


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     14.     That certain UCC Financing Statement Amendment, dated June       AMYRIS-DIP002474
             5, 2019.
     15.     That certain Amendment No 5 to Loan Agreement and Waiver,        AMYRIS-DIP002199
             dated August 14, 2019.
     16.     That certain UCC Financing Statement Amendment, dated            AMYRIS-DIP002509
             September 17, 2019.
     17.     That certain Amendment No 6 to Loan Agreement, dated             AMYRIS-DIP002220
             October 10, 2019.
     18.     That certain Amended and Restated Loan and Security              AMYRIS-DIP002232
             Agreement, dated October 28, 2019.
     19.     That certain UCC Financing Statement Amendment, dated            AMYRIS-DIP004011
             November 21, 2019.
     20.     That certain Warrant Exercise and Debt Equitization              AMYRIS-DIP002348
             Agreement, dated January 31, 2020.
     21.     That certain UCC Financing Statement Amendment, dated April      AMYRIS-DIP002517
             1, 2021.
     22.     That certain Amendment to Amended and Restated Loan and          AMYRIS-DIP002593
             Security Agreement, dated November 9, 2021.
     23.     That certain Amendment No 1 to Amended and Restated Loan         AMYRIS-DIP002330
             and Security Agreement, dated June 1, 2022.
     24.     That certain Amendment to Amended and Restated Loan and          AMYRIS-DIP002341
             Security Agreement, dated June 30, 2022.
     25.     That certain UCC Financing Statement Amendment, dated            AMYRIS-DIP002519
             December 13, 2022.
     26.     That certain UCC Financing Statement Amendment, dated May        AMYRIS-DIP002523
             25, 2023.
     27.     That certain Form 8-K filed by Amyris, Inc. on April 5, 2021.           N/A

     28.     That certain Schedule 14(a) Proxy Statement filed by Amyris,            N/A
             Inc. on July 6, 2020.
     29.     That certain Expert Rebuttal Report of Michael Gaul, CTP,               N/A
             CFE, dated September 26, 2023.
     30.     That certain Form 8-K filed by Amyris, Inc. on September 4,             N/A
             2019.
     31.     That certain Form 8-K filed by Amyris, Inc. on August 20,        AMYRIS-DIP002949
             2019.
     32.     That certain Accounting File Memorandum, dated January 31,       AMYRIS-DIP003983
             2019.
     33.     Those certain Minutes of a Regular Meeting of the Audit          AMYRIS-DIP000332
             Committee of Amyris, Inc. dated October 22, 2019.
     34.     That certain Credit Agreement, dated April 8, 2019.              AMYRIS-DIP002408

     35.     That certain Promissory Note issued April 8, 2019.               AMYRIS-DIP002421

     36.     That certain Form 8-K filed by Amyris, Inc. on April 11, 2019.   AMYRIS-DIP003936


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     37.     That certain Form 8-K filed by Amyris, Inc. on April 17, 2019.   AMYRIS-DIP003933

     38.     That certain Promissory Note issued June 11, 2019.               AMYRIS-DIP002476

     39.     That certain Form 8-K filed by Amyris, Inc. on June 17, 2019.    AMYRIS-DIP003941

     40.     That certain Form 8-K filed by Amyris, Inc. on July 15, 2019.    AMYRIS-DIP003945

     41.     That certain Promissory Note issued July 10, 2019.               AMYRIS-DIP002481

     42.     That certain Promissory Note issued July 26, 2019.               AMYRIS-DIP002486

     43.     That certain Form 8-K filed by Amyris, Inc. on August 1, 2019.   AMYRIS-DIP003949

     44.     That certain Form 8-K filed by Amyris, Inc. on August 20, AMYRIS-DIP002949
             2019.
     45.     That certain Loan and Security Agreement, dated June 29, 2018. AMYRIS-DIP001997

     46.     That certain Form 8-K filed by Amyris, Inc. on July 2, 2018.     AMYRIS-DIP002895

     47.     That certain Form 8-K filed by Amyris, Inc. on April 10, 2019.   AMYRIS-DIP003930

     48.     That certain Credit Agreement dated August 28, 2019.             AMYRIS-DIP002491

     49.     That certain Promissory Note issued August 28, 2019.             AMYRIS-DIP002504

     50.     That certain Common Stock Purchase Warrant issued October        AMYRIS-DIP002850
             11, 2019.
     51.     That certain Form 8-K filed by Amyris, Inc. on October 16,       AMYRIS-DIP003020
             2019.
     52.     That certain Accounting File Memorandum, dated November,         AMYRIS-DIP002809
             2019.
     53.     That certain Excel file titled After Expensing Fees to Lenders   AMYRIS-DIP002807
             created on January 28, 2020.
     54.     That certain Secured Term Promissory Note, dated November        AMYRIS-DIP002515
             27, 2019.
     55.     That certain Form 8-K filed by Amyris, Inc. on December 2,       AMYRIS-DIP003168
             2019.
     56.     That certain Common Stock Purchase Warrant, issued on            AMYRIS-DIP002834
             November 27, 2019.
     57.     That certain Form 8-K filed by Amyris, Inc. on February 6,       AMYRIS-DIP003172
             2020.
     58.     That certain Accounting File Memorandum, dated April, 2020.      AMYRIS-DIP003953




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Dated: October 2, 2023
       Wilmington, Delaware
                                                 Respectfully submitted,

                                              /s/ Russell C. Silberglied
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                                             Russell C. Silberglied (No. 3462)
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